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               UNITED STATES COURT OF INTERNATIONAL TRADE

NEXTEEL CO., LTD. et al.,

      Plaintiff and Consolidated Plaintiffs,

and

HUSTEEL CO., LTD. and HYUNDAI
STEEL COMPANY,

      Plaintiff-Intervenors,
                                                Before: Honorable Claire R. Kelly,
v.                                                      Judge

UNITED STATES,                                  Consol. Court No. 20-03898

      Defendant,

and

CALIFORNIA STEEL INDUSTRIES, INC.
et al.,

      Defendant-Intervenors and
      Consolidated Defendant-Intervenors.


                COMMENTS OF CONSOLIDATED PLAINTIFF AND
              PLAINTIFF-INTERVENOR, HYUNDAI STEEL COMPANY,
                ON COMMERCE’S REMAND REDETERMINATION

                                           Robert G. Gosselink
                                           Jarrod M. Goldfeder
                                           TRADE PACIFIC PLLC
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                                           Suite 500
                                           Washington, D.C. 20003
                                           (202) 223-3760

                                           Counsel to Hyundai Steel Company
Dated: August 17, 2022                     Consolidated Plaintiff and Plaintiff-Intervenor
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                  COMMENTS OF CONSOLIDATED PLAINTIFF AND
                PLAINTIFF-INTERVENOR, HYUNDAI STEEL COMPANY,
                  ON COMMERCE’S REMAND REDETERMINATION

         These comments are submitted on behalf of Consolidated Plaintiff and Plaintiff-

Intervenor, Hyundai Steel Company (“Hyundai Steel”), concerning the “Final Results of

Redetermination Pursuant to Court Remand” (“Final Remand Results”), ECF No. 96 (July 18,

2022), filed by the U.S. Department of Commerce (“Commerce”) concerning Nexteel Co., Ltd.,

et al. v. United States, Consol. Court. No. 20-03898, Slip Op. 22-37 (Ct. Int’l Trade Apr. 19,

2022).

         As a non-individually investigated respondent in the underlying administrative

proceeding that is the subject of this litigation, the rate assigned to Hyundai Steel is determined

by the final weighted-average dumping margins calculated for the two individually investigated

mandatory respondents, NEXTEEL Co., Ltd. (“NEXTEEL”) and SeAH Steel Corporation

(“SeAH Steel”). This means that any calculation changes made to NEXTEEL’s or SeAH Steel’s

antidumping duty calculations in this litigation potentially and directly impact the review-

specific average rate assigned to Hyundai Steel.

         Hyundai Steel agrees that Commerce’s decision to recalculate the weighted-average

dumping margins in the Final Remand Results without the application of any “particular market

situation” (“PMS”) adjustment, and to use those recalculated weighted-average dumping

margins—both for NEXTEEL and SeAH Steel—as the basis for determining the review-specific

average rate assigned to Hyundai Steel as a non-examined company, complies with the Court’s

remand order in Slip Op. 22-37. Hyundai Steel urges the Court to affirm the Final Remand

Results with respect to the PMS issue.
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Consol. Court No. 20-03898
Hyundai Steel’s Comments on Remand Results


       Hyundai Steel continues to disagree with certain aspects of Commerce’s analysis in the

Final Remand Results. In order to avoid the duplication of arguments, Hyundai Steel concurs

with the comments being submitted today by NEXTEEL and SeAH Steel regarding the issues

particular to those company’s individual calculations.


                                             Respectfully submitted,

                                             /s/ Jarrod M. Goldfeder
                                             Robert G. Gosselink
                                             Jarrod M. Goldfeder

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                                             Counsel to Hyundai Steel Company
Dated: August 17, 2022                       Consolidated Plaintiff and Plaintiff-Intervenor




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                   UNITED STATES COURT OF INTERNATIONAL TRADE

NEXTEEL CO., LTD. et al.,

      Plaintiff and Consolidated Plaintiffs,

and

HUSTEEL CO., LTD. and HYUNDAI
STEEL COMPANY,

      Plaintiff-Intervenors,
                                                 Before: Honorable Claire R. Kelly,
v.                                                       Judge

UNITED STATES,                                   Consol. Court No. 20-03898

      Defendant,

and

CALIFORNIA STEEL INDUSTRIES, INC.
et al.,

      Defendant-Intervenors and
      Consolidated Defendant-Intervenors.


                               CERTIFICATE OF COMPLIANCE

       The undersigned counsel at Trade Pacific PLLC hereby certifies that the Comments of

Consolidated Plaintiff and Plaintiff-Intervenor, Hyundai Steel Company, on Commerce’s

Remand Redetermination, dated August 17, 2022, complies with the word-count limitation

described in the Standard Chambers Procedures. The memorandum of law contains 289 words

according to the word-count function of the word-processing software used to prepare the

memorandum, excluding the table of contents, table of authorities, and undersigned counsel’s

signature block.
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Consol. Court No. 20-03898
Certificate of Compliance

                                  Respectfully submitted,

                                  /s/ Jarrod M. Goldfeder
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                                  Jarrod M. Goldfeder
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                                  Counsel to Hyundai Steel Company
Dated: August 17, 2022            Consolidated Plaintiff and Plaintiff-Intervenor




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